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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLORADO


    Criminal Action No. 14-cr-00231-WJM

    UNITED STATES OF AMERICA,
                Plaintiff,

    v.


    #1 RICKY GARRISON,
                 Defendant.


      DEFENDANT RICKY GARRISON’S PROPOSED JURY INSTRUCTIONS -
                                DISPUTED
    ________________________________________________________________

          Mr. Garrison, by and through counsel, submits the following proposed jury

    instructions, for the Court’s consideration.

           DATED this 7th day of February 2017.


                                                   Respectfully submitted,


                                                       s/ Sean M. McDermott
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                               CERTIFICATE OF SERVICE

    I hereby certify that on February 7, 2017, I electronically filed the foregoing and
    that a copy was delivered to all parties allowed to receive this motion by the
    District of Colorado’s ECF filing system.




                                       s/ Sean McDermott
                                          Sean McDermott




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